    Case 4:05-cr-00024-SPM-WCS                             Document 175    Filed 01/23/07     Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 1 of 6
4:05CR24-006 ANTHONY GOLDMAN


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 4:05CR24-006

ANTHONY GOLDMAN
                                                                  USM # 64344-004

                                                                  Defendant’s Attorney:
                                                                  Charles D. Barnard (Retained)
                                                                  3940 North Andrews Avenue
                                                                  Ft. Lauderdale, Florida 33309
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count 1 of the Indictment on April 13, 2006. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:

       TITLE/SECTION                                NATURE OF                    DATE OFFENSE
          NUMBER                                     OFFENSE                      CONCLUDED         COUNT
 18 U.S.C. §§ 1344 and                   Conspiracy to Commit Bank Fraud           May 17, 2004       1
 1349

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts 25 and 26 are dismissed on motion by the government.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                                  Date of Imposition of Sentence:
                                                                  January 16, 2007

                                                                   s/ Stephan P. Mickle
                                                                   Stephan P. Mickle
                                                                   United States District Judge

                                                                  Date: January 23, 2007
    Case 4:05-cr-00024-SPM-WCS                             Document 175   Filed 01/23/07   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                          Page 2 of 6
4:05CR24-006 ANTHONY GOLDMAN


                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of eleven (11) months.

The Court recommends to the Bureau of Prisons that the defendant be designated to a facility in
or as near to Ft. Lauderdale, Florida as deemed eligible.

The defendant shall surrender to the United States Marshal in Ft. Lauderdale, Florida or to the
institution designated by the Bureau of Prisons on February 15, 2007, no later than 12:00 noon.
The bond is continued until the executed return of judgment is filed with the court, at which time the
bond is exonerated.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ___________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                   __________________________________
                                                                          UNITED STATES MARSHAL


                                                                 By:__________________________________
                                                                             Deputy U.S. Marshal
      Case 4:05-cr-00024-SPM-WCS                           Document 175   Filed 01/23/07       Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 3 of 6
4:05CR24-006 ANTHONY GOLDMAN


                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of 5 years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer


                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;
      Case 4:05-cr-00024-SPM-WCS                           Document 175    Filed 01/23/07         Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 4 of 6
4:05CR24-006 ANTHONY GOLDMAN



12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

1.        the defendant shall report in person to the probation office in the district to which he is released within
          72 hours of release from the Bureau of Prisons.

2.        the defendant shall not own or possess a firearm, dangerous weapon or destructive device.

3.        the defendant shall provide the probation officer with all requested financial information, business and
          personal.

4.        the defendant shall pay monthly installments of at least $150.00 toward restitution, to commence no
          later than 60 days after sentencing.

5.        the defendant shall cooperate with the probation department in the collection of DNA samples as
          required by 42 U.S.C. § 14135a.


       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.



          Defendant                                                              Date



          U.S. Probation Officer/Designated Witness                              Date
    Case 4:05-cr-00024-SPM-WCS                             Document 175     Filed 01/23/07   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 5 of 6
4:05CR24-006 ANTHONY GOLDMAN


                                     CRIMINAL MONETARY PENALTIES

         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                      Fine                      Restitution
                $100.00                                      NONE                       $18,930.00

                                   SPECIAL MONETARY ASSESSMENT

 A special monetary assessment of $100.00 is imposed, and is due in full immediately.

                                                             FINE

                                                             NONE

                                                      RESTITUTION

                          Restitution in the amount of $18,930.00 is imposed.

      The defendant shall make restitution to the following victim in the amounts listed below.


                                                                     Total Amount           Amount of
                      Name of Payee                                     of Loss         Restitution Ordered

 U.S. Bank, c/o US District Court, 111 North                                $9,530.00                $9,530.00
 Adams Street, Attn: Financial Section
 Tallahassee, Florida 32301

 Fleet Bank, c/o US District Court, 111 North                               $9,400.00                $9,400.00
 Adams Street, Attn: Financial Section
 Tallahassee, Florida 32301
    Case 4:05-cr-00024-SPM-WCS                             Document 175   Filed 01/23/07   Page 6 of 6




FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 6 of 6
4:05CR24-006 ANTHONY GOLDMAN


       The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

      Restitution is owed jointly and severally with any other co-defendant paying restitution to the
same victim.

     The Court has determined that the defendant does not have the ability to pay interest. It is
ORDERED that in the interest of justice, interest on restitution is hereby waived.


                                             SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.
